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                          BEFORE THE UNITED STATES
                 JUDICIAL PANEL ON MULTI-DISTRICT LITIGATION

IN RE: COVID-19 BUSINESS                         )
INTERRUPTION PROTECTION                          )
INSURANCE LITIGATION                             )           MDL Docket No. 2942
                                                 )
                                                 )


                              NOTICE OF RELATED ACTIONS

        Pursuant to Rule 6.2(d) of the Rules of Procedure of the United States Judicial Panel on

Multidistrict Litigation (“JPML”), the undersigned counsel hereby notifies the Clerk of the

JPML of the following related actions:

Case Name                    Civil Action No.        Court                    Judge
Promotional Headwear         20-cv-2211              U.S.D.C. for the         Julie A. Robinson
Int’l v. The Cincinnati                              District of Kansas –
Insurance Company                                    Kansas City

Blue Springs Dental Care 4:20-cv-00383               U.S.D.C. Western         Stephen R. Bough
LLC, Green Hills Dental                              District of Missouri –
KC LLC, Highland Dental                              Kansas City
Clinic LLC, and Kearney
Dental LLC v. Owners
Insurance Company
Club 31 Sports Bar &     4:20-cv-00397               U.S.D.C. Western         Brian C. Wimes
Lounge, LLC a/k/a Club                               District of Missouri –
31 Sports Bar & Grill v.                             Kansas City
Mesa Underwriters
Specialty Insurance
Company

        The Schedule of Actions contains the full list of parties in these actions and is attached as

Exhibit 1. Copies of the docket sheets and complaints are attached as Exhibits 2, 3, and 4.
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Date: May 26, 2020                 Respectfully submitted,

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